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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW HAMPSHIRE

-------------------------------------------------------x
ROBERT PATRICK LEWIS,                                  :
PHILIP A. LUELSDORFF,                                  :
1AP, INC.                                              :
                                                       :
         Plaintiffs,                                   :
                                                       :
v.                                                     :   Case No.
                                                       :
                                                       :   COMPLAINT
SETH ABRAMSON                                          :
                                                       :   JURY TRIAL DEMANDED
         Defendant.                                    :
-------------------------------------------------------x


        Plaintiffs, Robert Patrick Lewis (“Lewis”), Philip A. Luelsdorff (“Luelsdorff”)

and 1AP, Inc. (“1AP”), by counsel, pursuant to Rule 3 of the Federal Rules of Civil

Procedure (the “Rules”), file the following Complaint against Defendant, Seth Abramson

(“Abramson”).

        Plaintiffs seek (a) compensatory and enhanced compensatory damages in the sum

of $25,000,000.00, (b) prejudgment interest on the principal sum awarded by the Jury

from January 6, 2021 to the date Judgment is entered at the annual rate of 2.0% pursuant

to New Hampshire R.S.A. § 336.1, and (c) court costs – arising out of the Defendant’s

defamation, defamation by implication, false light invasion of privacy and conspiracy.

                         I. STATEMENT OF MATERIAL FACTS

        1.       Lewis is a decorated United States Army Green Beret, who received a

Bronze Star and Purple Heart in the service of his Country. He possessed a TS-SCI

security clearance and received an Honorable Discharge. In 2020, Lewis founded 1AP to

provide pro bono security and protective services at grassroots events. Lewis created


                                                    1
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1AP to ensure that every American can freely associate, freely gather and freely speak on

matters of public concern to them without threat or fear of intimidation, retribution,

bodily harm or death. [https://1apraetorian.com/]. Luelsdorff is a former United States

Army Ranger (Battalion), with a TS security clearance. After a successful military

career, he too received an Honorable Discharge.       Lewis, Luelsdorff and 1AP (the

“Plaintiffs”) are private individuals. In May 2021, 1AP was engaged to provide security

at an event in Dallas, Texas.     The speakers included Lieutenant General (Retired)

Michael T. Flynn (“General Flynn”) and then Texas Republican Party Chairman and U.S.

Army Lieutenant Colonel (Retired) Allen B. West. The event was also attended by a

large number of people who identified as “QAnon”1 adherents. As such, the event



       1
                 According to the Federal Bureau of Investigation (“FBI”) and the
Department of Homeland Security (“DHS”), “QAnon” is a “domestic violence extremist”
(“DVE”) group and a “domestic terrorism threat”. In a special report aired in late
January 2021, CNN called QAnon a “deranged conspiracy cult”. CNN stated that some
of “Q’s conspiracy claims” were “actually based on age-old racist and anti-Semitic
beliefs”. CNN asserted that QAnon, like the Nazis, promoted “ancient and dark biases
and bigotry in World history”. CNN stated that QAnon supporters were detached from
“reality” and had an utter “disregard” for the facts. CNN alleged that QAnon followers
were mentally ill and crazy. CNN concluded that it was “abundantly clear” that QAnon
was a “dangerous and violent movement”, a movement that has become “insurrectionist”.
[https://transcripts.cnn.com/show/csr/date/2021-01-30/segment/01].     The Wall Street
Journal concluded that QAnon is a “far right-wing, loosely organized network and
community of believers who embrace a range of unsubstantiated beliefs. These views
center on the idea that a cabal of Satan-worshipping pedophiles—mainly consisting of
what they see as elitist Democrats, politicians, journalists, entertainment moguls and
other institutional figures—have long controlled much of the so-called deep state
government, which they say sought to undermine [President] Trump, mostly with aid of
media and entertainment outlets.” The Wall Street Journal claimed that adherents of
QAnon were among the “most prominent members of the mob” who stormed the United
States Capitol on January 6, 2021. https://www.wsj.com/articles/what-is-qanon-what-we-
know-about-the-conspiracy-theory-11597694801?mod=article_inline]. In October 2020,
Congress condemned “QAnon”. [https://www.congress.gov/116/bills/hres1094/BILLS-
116hres1094ih.pdf]. Plaintiffs are not QAnon followers. See Flynn v. CNN, 2021 WL
5964129, at * 4 (S.D.N.Y. Dec. 16, 2021) (“[F]alsely implying a connection to a violent
extremist group [like QAnon] can be defamatory.”)].


                                           2
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attracted several main stream media reporters, like Will Sommer of the Daily Beast

(“Sommer”), who were there solely to publish calumniations about the event and QAnon.

When event organizers discovered Sommer was in attendance and that he was live-

tweeting disparaging remarks to his 160,000+ social media followers, they asked 1AP to

remove him. 1AP complied. Shortly thereafter, Lewis began to receive messages from

his ex-wife that shady journalists were reaching out to her and her divorce attorney to, in

her words, “dig up dirt” on Lewis. Lewis also began receiving the same messages from

colleagues in the security industry and others. On June 2, 2021, Daily Beast published an

initial attack. [https://www.thedailybeast.com/how-a-case-of-mistaken-identity-got-me-

kicked-out-of-qanon-headquarters].     A second false and disparaging article, written by

Sommer, quickly followed on June 10, 2021. [https://www.thedailybeast.com/1st-

amendment-praetorian-the-far-right-paramilitary-wannabes-feeding-mike-flynns-

conspiracy-machine (“The Far-Right Paramilitary Wannabes Feeding Mike

Flynn’s Conspiracy Machine – … [Lewis instigated and incited the] paranoia and

conspiracy-mongering of late 2020 … Lewis [was] part of the retinue of right-wing

activist Ali Alexander … By [January 6, 2021] Lewis was spreading conspiracy

theories”)].2

        2.      Abramson, a practising attorney, seized on Sommer’s false narratives and

implications, and in June 2021 began to publish egregious statements about Plaintiffs,

including the following:



        2
              Sommer’s article was immediately understood to convey a defamatory
meaning. [https://twitter.com/VickerySec/status/1403017817587212295 (“If you read
one article today, make it this article. ‘1st Amendment Praetorians’ (1AP) are as
entrenched in the insurrection and dangerous as the Oath Keepers. 1AP is a name
everyone needs to dig into hard and expose to public attention with a strong spotlight.”)].


                                            3
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No.   Defamatory Statement              Published By    Published   Date
                                                        To
1     Lewis and 1AP were among          Abramson        Internet    06/21/2021
      “Trump’s insurrectionists”        (Substack)

2     1AP is a “militant extremist group Abramson       Internet    06/21/2021
      run by Robert Patrick Lewis”.      (Substack)
      1AP’s “Director of Business                                   06/30/2021
      Development”, Luelsdorff, was a
      known participant in the “Willard
      war room” where the parties
      plotted the ”insurrection”

3     “in ancient Rome, the elite       @capitolhunters Twitter     06/25/2021
      Praetorian Guard kept
      overthrowing the emperors they    Abramson        Internet    06/30/2021
      were assigned to protect. In DC   (Substack)
      this January, seems the ‘1st
      Amendment Praetorians’ had
      similar ambitions”3

4     “The Holy Grail is placing        Abramson        Twitter     06/26/2021
      dangerous far-right domestic-
      extremist militants inside
      Trump’s Willard Hotel command
      center on Insurrection Day. By
      the end of next week—based on
      what PROOF will publish and
      what others are working on—the
      Grail will have been both found
      and made public … That said, it
      must be universally understood
      that people like Michael Flynn
      and Sidney Powell and Robert
      Patrick Lewis and Donald Trump
      are legitimately dangerous
      domestic insurgents. Everywhere
      they go and everywhere they
      speak, they expand a clear and
      present danger to America”




      3
              @capitolhunters and Abramson juxtaposed the statement with a
photograph of Lewis.


                                         4
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No.   Defamatory Statement                  Published By    Published   Date
                                                            To
5     “Insurrection Day was the work        Abramson        Twitter     06/28/2021
      of coordination between the
      White House, Stop the Steal,
      InfoWars and the Proud Boys,
      with the Oath Keepers, Three
      Percenters, Qanoners and 1AP in
      support roles”

6     “January 6 was coordinated by         Abramson        Internet    06/28/2021
      four entities—the White               (Substack)
      House, Stop the Steal, InfoWars,
      and the Proud Boys—with the …
      1st Amendment
      Praetorians (1AP) acting as
      security for top agents of Team
      Trump … and all of this seditious
      activity centering around one
      location in Washington:
      the Willard InterContinental
      Hotel”

7     “Still don’t think 1AP is scary?      @capitolhunters Twitter     06/29/2021
      Read RPL’s Tweet from June 28
      calling on ‘Patriots’ to ‘take back
      and keep this Republic’ by
      turning into ‘Old Testament, full
      wrath of God, destruction of their
      house and salt the earth beneath
      them Christians.’ Hope FBI is
      watching July 4th”

8     “The question, however—given        Abramson          Internet    06/30/2021
      the extremely dangerous, even       (Substack)
      seditious views held by Lewis …
      —is just how close 1AP got to the
      command center for
      insurrectionist plotting on January
      5, January 6, January 7, and
      January 8: the Willard Hotel in
      DC. And the answer seems to be
      that 1AP was anywhere and
      everywhere it wanted to be during
      Insurrection Week”




                                            5
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 No.   Defamatory Statement                Published By   Published   Date
                                                          To
 9     “If the war room Lewis was in on Abramson          Internet    06/30/2021
       January 7 wasn’t in the Willard      (Substack)
       Hotel, it means rather less to
       insurrection researchers—as
       there’s nothing particularly
       remarkable about 1AP setting up
       a war room in Maryland,
       Virginia, or DC, much like
       the Oath Keepers are known to
       have done by reserving a large
       block of rooms at a hotel in
       Virginia. Such an
       accommodation will most
       certainly be looked at closely by
       the FBI, but it may not have any
       significance to bringing
       insurrectionist kingpins to justice.
       By comparison, if 1AP had set up
       camp inside Donald Trump’s
       Willard Hotel war room, it would
       be very hard to imagine a bigger
       development in the insurrection
       investigation—as it places radical,
       dangerous, militant
       insurrectionists inside Team
       Trump’s Insurrection Week
       command center”

 10    “With each day, PROOF gets          Abramson       Twitter     06/30/2021
       closer—via images, videos, and
       transcripts—to putting Trump at
       the heart of the planning for the
       insurrection. I hope you’ll RT
       this”4




       4
              Abramson’s tweet displayed a photograph of Luelsdorff with his face
circled in orange, accompanied by the words, “1st Amendment Praetorian Leader”.
Luelsdorff was not involved in any way in any “planning for the insurrection”.


                                           6
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No.   Defamatory Statement                 Published By   Published   Date
                                                          To
11    “If any doubt remained that 1st    Abramson         Internet    06/30/2021
      Amendment Praetorians were         (Substack)
      inside the nerve center of
      Trump’s Insurrection Day
      operation, the picture atop this
      article dispels it completely. The
      previously unidentified man in the
      white tee shirt is Phillip
      Luelsdorff … Director of
      Business Development for [1AP]”

12    “Close contact between Team           Abramson      Internet    06/30/2021
      Trump and a 1AP militant like         (Substack)
      Robert Patrick Lewis is
      significant because the former has
      positioned itself as supporting
      only administrative insurrection—
      the overturning of a democratic
      election via dodgy backroom
      political maneuvers—while the
      latter has routinely flirted with the
      idea of a paramilitary revolt.
      Placing these agendas in the same
      room underscores the ways they
      were synchronized”

13    “The congregation of radical        Abramson        Internet    06/30/2021
      militant extremists like 1AP not    (Substack)
      just at the Willard Hotel generally
      but with members of Team
      Trump, Stop the Steal, and
      InfoWars specifically matters
      because these entities—with the
      Proud Boys—were the four most
      responsible for the planning and
      coordination of the events of
      January 6, with the Oath Keepers
      (many of whom apparently
      congregated at the Willard Hotel
      also, acting as bodyguards for
      members of the Stop the Steal and
      InfoWars camp) serving as
      important adjuncts to the effort”




                                           7
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No.   Defamatory Statement                 Published By     Published   Date
                                                            To
14    “In a brief span of time on          Abramson         Internet    06/30/2021
      Insurrection Eve—the three hours     (Substack)
      between noon and 3PM—
      InfoWars’ Willard suite played
      host to the following
      insurrectionists … 1st
      Amendment Praetorians**** …
      ****Names and numbers
      unknown, but there ‘protecting’
      both Byrne and Flynn”

15    “Expect to learn more about the      @visionsurreal   Twitter     06/30/2021
      son of Russian exile Baroness
      Rida von Luelsdorff who was in
      the Willard ‘war room’ with
      Giuliani on 1/6, as a
      representative and member of
      Flynn’s QAnon militia group--1st
      Amendment Praetorian led by
      Robert Patrick Lewis :)”

16    “If we just looked at people under   Abramson         Twitter     07/09/2021
      criminal investigation …, the
      number of people here in the
      relevant category would be at
      least 8: UNDER
      INVESTIGATION/ARREST
      RECORD Giuliani Luelsdorff 6
      Oath Keepers”

17    “And you’d think that at least       Abramson         Twitter     07/12/2021
      Trump’s *lawyers* aren’t that
      deranged—just the men advising
      and protecting them, like Lewis
      from 1AP”

18    “Robert Patrick Lewis is a           Abramson         Twitter     07/12/2021
      deranged militant extremist who
      had access to top members of
      Team Trump on Insurrection Eve
      and Insurrection Day … [H]e’s a
      legitimate danger to national
      security”




                                           8
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No.   Defamatory Statement                Published By      Published   Date
                                                            To
19    “Think of how much danger the       Abramson          Twitter     07/12/2021
      United States is in if the
      Republican who is most likely to
      run for president in 2024 is
      someone advised by people who
      *literally*—I'm not screwing
      around—might be subjected to a
      court-ordered psychiatric
      evaluation if and when they are
      arrested”

20    “I believe that a federal judge    Abramson           Internet    07/12/2021
      would—and may yet—order a          (Substack)
      psychiatric evaluation for this
      man [Lewis], who acted as a
      high-level adviser [and
      bodyguard] to Trump’s legal team
      pre-, mid-, and post-insurrection”

21    “General Flynn played a              @visionsurreal   Twitter     07/17/2021
      significant role in the insurrection
      operation. ‘Flynn Org’ was
      heavily involved in the
      ‘legal/propaganda’ part of the op
      in the months leading up to 1/6 …
      ‘Flynn Org’ consists of a large
      cast of high-and low-profile
      characters Flynn’s recruited to
      achieve his goals. This story will
      be told w/ a focus on a group
      recruited in mid-Nov 2020 to
      conduct his dirty work: 1st
      Amendment Praetorian (1AP), led
      by Robert Patrick Lewis”

22    “Journalists, media and federal     @lynette3006      Twitter     07/17/2021
      law enforcement need to             7504
      investigate 1st Amendment
      Praetorian and their role in the
      1/6 insurrection. Who runs 1AP?
      *Robert Patrick Lewis and
      *Phillip Luelsdorff”




                                          9
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No.   Defamatory Statement                  Published ByPublished     Date
                                                        To
23    “John Eastman mapped out a 6          @DempseyTwo Twitter       09/20/2021
      point ( 1) path for VP Pence to
      take to overturn the election, defy
      the will of the people and
      overthrow the government. Let’s
      remind ourselves of where John
      Eastman was on January 6th.
      And who he was with … 1AP’s
      Luelsdorff”

24    “Luelsdorff’s boss, Robert Patrick Abramson          Internet   09/23/2021
      Lewis—the founder of the 1st       (Substack)
      Amendment Praetorians—was
      also inside the Willard Hotel war
      room. Lewis had been running a
      private intelligence operation
      for Team Trump to try to
      establish that the 2020 election
      was stolen by a multinational
      cabal of pro-communist interests
      in China, Russia, North Korea,
      Venezuela, and Iran (yes, Lewis’s
      conspiracy theory is just as
      preposterous as it sounds, but
      nevertheless it ended up forming
      the sum and substance of Sidney
      Powell’s preposterous, knowingly
      false ‘Kraken’ allegations; these
      false allegations, and Powell’s
      work on them, appear to have so
      alarmed the Chinese, Russians
      and Iranians that they risked
      plunging the U.S. into a
      dangerous and wholly
      unwarranted military
      confrontation with Beijing)”

25    “[T]he Willard was a ‘war room’       Abramson       Twitter    10/20/2021
      because two of the participants,
      domestic extremists Joe Oltmann
      and Robert Patrick Lewis, *called
      it that* in videos. Now this guy
      implies I devised the term.”




                                            10
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No.   Defamatory Statement               Published By     Published   Date
                                                          To
26    “A major break in PROOF’s          Abramson         Twitter     10/21/2021
      exclusive reporting on the Willard
      came on the last day of June
      2021, with the crowd-sourced
      revelation of who the mysterious
      ‘man in the white shirt’ was in
      Robert Hyde’s photos. It turned
      out he’s a domestic extremist
      leader”

27    “Oath Keepers and 1st              @PiperK          Twitter     10/21/2021
      Amendment Praetorian were
      standing by with weapons on Jan.
      6th. They were coordinating.
      1AP takes ‘orders’ from Mike
      Flynn. @January6thCmte”

28    “Someone needs to tell the Oath    @PiperK          Twitter     10/23/2021
      Keepers, Proud Boys, and 1AP
      that ‘we're not racist’ is not a
      good defense for trespassing,
      assault, and sedition”

29    “And kudos to ROLLING              Abramson         Twitter     10/24/2021
      STONE for mentioning (albeit
      only in passing) the
      insurrectionist paramilitary
      extremist group 1st Amendment
      Praetorians. PROOF has reported
      that one of the leaders of the
      group [displaying picture of
      Luelsdorff] was *in Trump’s war
      room* during Insurrection
      Week:”

30    “Combine Raiklin’s                 @visionsurreal   Twitter     11/05/2021
      background/access with that of
      1AP’s Phillip Luelsdorff whose
      mom’s backstory reads like that
      of a Russian spy’s, and one
      wonders... Why does Flynn
      surround himself with so many
      Russia-friendly operatives?”




                                         11
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 No.   Defamatory Statement               Published By      Published      Date
                                                            To
 31    “Flynn’s militia, 1st Amendment    @visionsurreal    Twitter        11/05/2021
       Praetorian, had a member on
       Giuliani’s team (Phillip
       Luelsdorff)”

 32    “1AP was inside the Capitol.        @PiperK          Twitter        11/08/2021
       They were hired by Flynn. Oath
       Keepers were inside the Capitol.
       They were hired by Roger Stone.
       Flynn and Stone have deniability.
       They say, ‘I didn’t hire them to do
       THAT’”

 33    “In a tweet telegraphing the attack Crosse           Internet       11/25/2021
       on the Capitol, the official Twitter
       account of the 1AP warned on                         wsws.org
       January 4, 2021: ‘There may be
       some young National Guard
       Captains facing some very, very
       tough choices in the next 48
       hours’”

 34    “There were *many* January 6       Abramson          Twitter        12/27/2021
       war rooms inside the Willard,
       e.g.: Trump Legal 1st
       Amendment Praetorian/Team
       Kraken Team Stone Team
       Bannon (Stockton/Lawrence)
       March for Trump”

 35    “(ICYMI) … given that PROOF        Abramson          Twitter        01/10/2022
       has itemized the dozens and
       dozens of New York Times
       journalists who follow the
       PROOF project. How could they
       have missed this major report on
       the 1st Amendment Praetorians
       from back in *June of 2021*,
       more than half a year ago?”5



       5
                In this tweet, Abramson republished the false and defamatory statements
in his June 30, 2021 substack together with a photograph of Luelsdorff.


                                          12
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 No.   Defamatory Statement                 Published By      Published       Date
                                                              To
 36    “1AP … cheered on the                @visionsurreal    Twitter         04/03/2022
       overthrow of the USG in real-
       time on Jan 6th”


(each a “Statement”, and collectively, the “Statements”).

       3.       At all times relevant to this action, Abramson combined, associated and

worked in concert with Sommer, with Vice Media reporter David Gilbert (“Gilbert”),6

with World Socialist Web Site contributor David Crosse (“Crosse”), and with multiple

anonymous and pseudo anonymous third-parties on Twitter, including, but not limited to,

@capitolhunters (Twitter handle “Capitol Hunters”),7 @SeditionHunters (Twitter

handle “#SeditionHunters”),8 @visionsurreal (Twitter handle “Devin Nunes’s Mom’s

Son Devin”), @DempseyTwo (Twitter handle “Joe Dempsey”), @the_peetape (Twitter

       6
                 Shortly after Sommer published his second article, Gilbert published an
article about Lewis and 1AP that contained multiple false and defamatory statements.
[https://www.vice.com/en/article/4avnxn/qanon-militia-of-ex-cops-and-soldiers-is-
training-patriots-for-revolution (“This QAnon Militia of Ex-Cops and Soldiers Is
Training ‘Patriots’ for Revolution – “1st Amendment Praetorians [was] founded by a
QAnon believer … Lewis is a full-fledged QAnon believer … The Praetorians are a new
paramilitary organization … It is part of a growing network of right-wing extremists
groups who are pushing baseless conspiracies about election fraud, and has direct links to
violent militias, notably the Oath Keepers … [Lewis’s] vision of a new American
revolution is also infused with conspiratorial thinking and linked to known violent
extremists … Most worrying of all is that Lewis and the Praetorians are coordinating
resources and information with more violent groups, far-right militias, and extremists”);
https://twitter.com/daithaigilbert/status/1405875774540943361].

       7
               The @capitolhunters account is believed to be controlled and operated by
an individual known as Jakob Ravner, who also operates Twitter account @jakobravner
(Twitter handle “Himod”).
       8
               The @seditionhunters account is believed to be controlled and operated
by a “Data Scientist” known as Tommy Carstensen. Carstensen operates numerous
websites, including https://jan6attack.com/ and https://jan6archive.com/. Cartensen
worked for the Wellcome Trust Sangor Institute as a “bioinformatician”. He used his
expertise and Sangor’s resources to identify Luelsdorff from his picture.


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handle “The Pee Tape”), @PiperK (Twitter handle “Karen Piper”), @Lynette30067504

(Twitter handle “The Warning Bell”), @VickerySec (Twitter handle “Chris Vickery”)9

and get_innocuous (Twitter handle “trapezoid of discovery”), to defame Plaintiffs, to

interfere with their business, and to instigate a criminal prosecution.     Abramson

communicated with his confederates via telephone, Twitter direct message, encrypted

messaging and email applications, and virtual private networks (“VPNs”). He engaged

them to gather “intel” for him. Abramson’s co-conspirators boldly and proudly admitted

that they were engaged in a “collaborative effort”. Abramson and his associates created

shared slogans, aggregated and shared information via Twitter using generic hashtags

such as “#SeditionHunters” and by tagging one another. They made the decision to

collectively target specific individuals and firms, who they labeled, “Sedition VIPs”.

Abramson chose Plaintiffs, in particular, because of Plaintiffs’ perceived relationship

with General Flynn. General Flynn was a primary target of Abramson’s enterprise

because of General Flynn’s public profile and his perceived closeness to President

Trump. In his defamatory dispatches, Abramson used the pronoun “we” to emphasize

that he and his cohorts were speaking and writing jointly in pursuit of a common agreed

plan. Abramson’s co-conspirators supplied him with photographs, timelines, “analysis”,

and helped him manufacture and organize the false Statements.          By agreement,

Abramson linked to and incorporated the work-product of his co-conspirators into his

false and defamatory Statements about Plaintiffs. Abramson’s co-conspirators, including



       9
                 On June 10, 2021, @VickerySec tweeted, “As the January 6th
insurrectionists breached US Capitol doors, the leader of 1st Amendment Praetorians
(1AP) tweeted the message: “Today is the day the true battles begin.”
[https://twitter.com/VickerySec/status/1403021172397146114]. The defamatory gist of
the tweet was that 1AP was involved in the “insurrectionists breach”.


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@capitolhunters, @visionsurreal and @the_peetape, regurgitated Abramson’s false

Statements as part of an agreed effort to more broadly republish the defamation and

impair Plaintiffs’ reputations. Abramson and his so-conspirators created, published and

republished massive “threads” (also called “tweetstorms”) containing the false

Statements as part of the plan to increase the breadth and sheer number of republications

[See, e.g.,

        https://twitter.com/capitolhunters/status/1408398059592044547;

        https://twitter.com/capitolhunters/status/1408394903931949058;

        https://twitter.com/visionsurreal/status/1452699110088261633;

        https://twitter.com/visionsurreal/status/1416584782977421317;

        https://twitter.com/the_peetape/status/1501543860828139522].

        4.     Abramson’s false Statements and those of his co-conspirators exposed

Lewis, Luelsdorff and 1AP to public scorn, ridicule and contempt, and severely

prejudiced each Plaintiff in their employment as private security detail and business

owners, causing substantial professional and personal loss. The millions who read the

false and defamatory Statements clearly understood them to be of or concerning Lewis,

Luelsdorff and 1AP.      The Statements were also clearly understood to convey a

defamatory meaning, including that Lewis, Luelsdorff and 1AP were involved in the

January 6 insurrection, committed Federal crimes, conspired, aided and abetted the

commission of Federal crimes, or otherwise engaged or participated in criminal,

dishonest, deceptive, immoral, unethical, unprofessional or improper conduct. [See, e.g.,:

        https://twitter.com/tribelaw/status/1482453867753320449;

        https://twitter.com/suncat1957/status/1414780981643517954;




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       https://twitter.com/letsgohawksgpg/status/1409631630273093637;

       https://twitter.com/CALUSA18/status/1409659448151330820;

       https://twitter.com/ToddLytle/status/1419921084615331842].

       5.      Abramson’s false and defamatory Statements, viewed as a whole and in

the context in which they were published, gravely injured Lewis, Luelsdorff and 1AP. In

this case, Plaintiffs seek (a) special damages for the injury to their businesses and

professions caused by Abramson and his co-conspirators, (b) actual damages for the

insult, humiliation, embarrassment, pain, mental suffering, emotional distress and injury

to their reputations, and (c) enhanced compensatory damages because of the wanton,

willful and oppressive defamation/false light terror campaign and misconduct undertaken

by Abramson and his confederates.

                                      II. PARTIES

       6.      Lewis is a citizen of California. Luelsdorff is a citizen of Virginia. 1AP is

a Delaware corporation with a principal place of business in Dallas, Texas.

       7.      Abramson is a citizen of New Hampshire.

                          III. JURISDICTION AND VENUE

       8.      The United States District Court for the District of New Hampshire has

subject matter jurisdiction over this action pursuant to Title 28 U.S.C. § 1332 (Diversity).

The parties are citizens of different States and the amount in controversy exceeds the sum

or value of $75,000, exclusive of interest and costs.

       9.      Abramson is at home in New Hampshire, and is subject to the Court’s

general personal jurisdiction.

       10.     Venue is proper pursuant to 28 U.S.C. §§ 1391(b)(1) and 1391(b)(2).




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                             COUNT I – DEFAMATION

       11.     Plaintiffs restate paragraphs 1 through 10 of this Complaint, and

incorporate them herein by reference.

       12.     Abramson and his co-conspirators published the false Statements without

privilege of any kind.

       13.     Abramson’s Statements and those of his co-conspirators are materially

false. In truth, Plaintiffs were not involved in any way in the recruitment, planning or

execution of the attacks on the United States Capitol on January 6, 2021. Plaintiffs did

not plan, undertake, conspire with anyone, or aid and abet in insurrection or sedition.

The Statements, taken as a whole, are more damaging to Plaintiffs’ reputations than a

truthful publication would have been. Contrary to Abramson’s misrepresentations and

those of his associates: (a) Lewis, Luelsdorff and 1AP are not and never were radical,

extremist, paramilitary, militants dedicated to violent upheaval and overthrow of the

United States Government with roles in the January 6 insurrection and coordination with

other DVE groups; (b) Lewis, Luelsdorff and 1AP were never inside the Capitol building;

(c) Lewis, Luelsdorff and 1AP are not and never were high-level advisors to the Trump

team; (d) Neither Lewis nor Luelsdorff have never met or spoken with President Trump,

or any member of his inner or outer circle of advisors and lawyers; (e) Lewis and

Luelsdorff have never met or spoken with Rudolph Giuliani (“Giuliani”) or any of this

agents; (f) Lewis met John Eastman (“Eastman”) causally and briefly on two occasions,

but never engaged in any substantive conversations with Eastman or any of his agents;

(g) Lewis has only personally met General Flynn a small handful of times (the vast

majority of security 1AP performed for General Flynn was coordinated by General




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Flynn’s family who were afraid for his safety); (h) Luelsdorff is not a “domestic

extremist leader”, and he has never directed or been involved in or with any DVE; (i)

Luelsdorff was not the Director of Business Development for 1AP; (j) Luelsdorff entered

a room at the Willard Hotel for less than a minute, where his photograph was apparently

taken without his knowledge by someone he does not know, but Luelsdorff was

immediately asked to leave – he was not told and was not aware that it was a “war room”,

and he did not have any conversations or interactions with anyone in any “war room”,

including Giuliani or Eastman; (k) Luelsdorff has never had any interaction with, and did

not know who Eastman was until his name was brought up by @DempseyTwo and other

individuals who identified Eastman on Twitter; (l) 1AP is not and never – not once –

acted as a “militia” or “paramilitary” group; (m) 1AP never planned or schemed with

Oath Keepers, Stop the Steal, 3 Percenters, or any other group; (n) 1AP has never had

any association with InfoWars; and (o) 1AP provided security for a very small number of

Stop the Steal events for Ali Alexander (“Alexander”), but parted ways with Alexander

completely after his Atlanta events, long before January 2021, and did not work with or

for Alexander’s group again afterwards. Abramson’s Statements and those of his co-

conspirators are demonstrably false. The Statements are not substantially true.

       14.     Abramson’s false Statements and those of his co-conspirators constitute

express defamation or defamation by implication. The Statements accuse and impute to

Plaintiffs (a) multiple Federal crimes, including sedition, insurrection, obstruction of an

official proceeding, conspiracy and aiding and abetting, and (b) an unfitness to perform

the duties of an office or employment for profit, including being participants in deadly,

violent, insurrectionist, domestic terrorist acts.   Abramson targeted Plaintiffs, doxed




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them, and callously exposed them to threats of death, bodily injury and emotional harm

from persons hell-bent on exposing those who stormed the United States Capitol on

January 6. Abramson exposed Plaintiffs to career and reputational risk, including the

hazard of losing business and trust of clients, and rendered Plaintiffs odious and unfit to

fulfill the duties of their profession as security specialists. The false and defamatory

Statements were neither fair nor accurate.

       15.     Abramson created and fueled a social media terror campaign against

Plaintiffs. He begged his Twitter followers to retweet the false Statements. He instigated

criminal prosecutions. By publishing the Statements on the Internet and republishing via

social media, Abramson knew or should have known that the false Statements would be

republished over and over by third-parties to Plaintiffs’ detriment. Republication by

Abramson’s Twitter followers, paid subscribers and readers of his substack, media

outlets, and by others was the natural and probable consequence of Abramson’s actions

and was actually and/or presumptively authorized by Abramson. In addition to his

original publications, Abramson is liable for the republications of the false and

defamatory Statements by third-parties under the republication rule.

       16.     Abramson and his co-conspirators published the false and defamatory

Statements with actual or constructive knowledge that they were false or with reckless

disregard for whether they were false. Abramson and his co-conspirators acted with

actual malice and reckless disregard for the truth for the following reasons:

               a.      Abramson and his co-conspirators knew their statements about

Plaintiffs were false. Based upon their own investigation and their own resources and

analysis, including documents they prepared and maintained prior to June 2021, such as a




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January 6 “VIP Timeline”, a “12 days of insurrection” PowerPoint presentation, and a

“Capitol Suspects Database”, Abramson and his co-conspirators knew there was no

evidentiary basis for stating that Plaintiffs participated in any way in the planning or

attacks on the United States Capitol building on January 6, 2021. In fact, Abramson and

his associates knew and admitted that Plaintiffs were not among the 74 selected VIPs

associated with the January 6 Capitol attack. Abramson’s own evidence, which was

completely ignored, showed that 1AP provided security for an event on January 5, 2021,

but none on January 6. On January 6, 2021, Lewis went to President Trump’s speech at

the Ellipse. He then returned to his hotel room to change out of his suit, and spent the

rest of the day at the Willard Hotel. He did not run, enter or participate in the activities of

any “war room”. The only activity 1AP engaged in on January 6, 2021 was to provide

personal security (on a voluntary basis) for main stream media DC affiliate reporters – a

fact that Abramson and his co-conspirators could have easily verified if they had wanted

to publish the truth. However, Abramson and his associates ignored known and available

contrary facts and sources of information. Abramson and his co-conspirators also knew

that there were obvious gaps in their own narrative. For instance, a solitary photograph

of Luelsdorff in a room at the Willard Hotel did not mean that Luelsdorff knew anything

or participated in any way in the events of January 6, 2021 or any coup to overthrow the

“USG”. In furtherance of a wholly contrived preconceived narrative, Abramson and his

co-conspirators filled in the gaps with imagined falsehoods and implications about Lewis,

Luelsdorff and 1AP that were knowingly false. From a lone still-shot of Luelsdorff,

Abramson projected a fantastical story about Luelsdorff’s participation in insurrection

and sedition and conspiracy with Giuliani, Eastman and President Trump. Abramson




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also reported that pictures of 1AP members at the Willard Hotel on January 5, 2021 were

“evidence” that 1AP was supplying weapons to the Oath Keepers for the January 6, 2021

attack. This statement is also knowingly false. No Oath Keepers arrested at the Capitol

on January 6 had weapons, a fact known to Abramson prior to publication of the

Statements in June 2021 and thereafter. In spite of their actual knowledge, revealed

through interaction with multiple sources, including, upon information and belief, sources

in the United States Government, Abramson and his co-conspirators boldly and

repeatedly misrepresented that Plaintiffs were part of the insurrection or conspired with

or aided and abetted others in the attacks on the Capitol. The false Statements were and

are knowingly false.

              b.       Abramson acted with reckless disregard for the truth. He joined

Sommer, Gilbert and a chorus of establishment media outlets in June 2021 to heavily

promote a narrative about extremism and violence in order to injure Plaintiffs’

reputations and those of Plaintiffs’ clients, most notably General Flynn. Abramson and

his co-conspirators made up facts out of whole cloth and fabricated events that never

happened. Further, the idea that Lewis and Luelsdorff would participate in a coup to

overthrow the United States Government was obviously preposterous. Lewis is a former

Green Beret 18D with a Purple Heart and combat deployments to OIF, OEF & OEF-TS.

He left Army active duty in 2009. The suggestion that he would work to obstruct and

overthrow Congress is disgusting and enraging and so far-fetched that Abramson and his

co-conspirators had to know it was false. Luelsdorff is a former United States Army

Ranger (Battalion). His mother still tells the story of the night in Russia when the

Chekka came in the middle of the night, pulled the men of her family into the street, and




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executed them. They then took her to a Chinese concentration camp, where she spent

several of her childhood years. Abramson and his co-conspirators made zero attempts to

discover Luelsdorff’s family history or his honorable military service or his security

clearance, and they ignored the fact that neither Lewis nor Luelsdorff had any motive to

engage in violent rebellion against the United States on January 6, 2021. Further, by June

2021 when Abramson began to publish the Statements, the FBI had already

arrested/detained hundreds of people involved in the attacks on the Capitol. Abramson

and his co-conspirators knew or should have known that the FBI and the Intelligence

Community (“IC”) had thoroughly investigated Lewis, Luelsdorff and 1AP, and found

nothing. Although hundreds were investigated and charged with crimes, neither Lewis’

picture, Luelsdorff’s picture nor the picture of any other 1AP member or employee ever

appeared on the FBI’s website. These facts alone should have informed Abramson, an

attorney, that the Statements were categorically false and that the FBI had evidence and

was satisfied that Lewis, Luelsdorff and 1AP were not involved in the insurrection and

attacks on the Capitol.10 The fictitious stories about Plaintiffs were so highly improbable

that Abramson had serious doubts as to the accuracy of the Statements. Anyone even

tangentially associated with or present at the Capitol building on January 6, 2021 has

been imprisoned or charged with crimes. It should have been very apparent to Abramson




       10
             In 2021, the FBI sent a spy to infiltrate Lewis’ family – a woman under an
assumed name to befriend Lewis’ fiancé in order to collect information and get close to
Lewis. The IC intercepted and looked through Lewis’ communications, and the J6
committee was able to access his phone records (without a subpoena). No complaint was
ever made about Lewis’ activity on January 5 or 6, 2021. He was never charged with a
crime. There is no public record from which Abramson and his co-conspirator could
have drawn even an inference that Lewis, Luelsdorff and 1AP were “insurrectionists”.



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and his confederates that their Statements about Lewis, Luelsdorff and 1AP were false.11

The very thought that Abramson and his co-conspirators believe they have better

investigatory tools than the DOJ, FBI, NSA and a plethora of other U.S. law enforcement

and intelligence agencies – who declined to charge Lewis, Luelsdorff or 1AP with

anything – demonstrates that Abramson acted with reckless disregard for the truth.

Additionally, the claims by Abramson and his confederates that Giuliani – octogenarian,

lawyer and the former Mayor largely credited with saving New York City – is some kind

of nefarious, violent, coup-plotting malcontent is in itself ridiculous on its face, yet this is

the primary thrust through which Abramson savagely attacked Luelsdorff (with a photo),

mercilessly doxxed Luelsdorff and his family, and defamed him in every way possible.

               c.      In the wake of the storming of the Capitol, Abramson’s Statements

were intentionally extreme and outrageous fabrications. Sindi v. El-Moslimany, 896 F.3d

1, 16 (1st Cir. 2018) (the “gross fabrication” of false facts is “powerful evidence of actual

malice”). Abramson knew that publication would cause a media frenzy and have drastic

consequences for Lewis, Luelsdorff and 1AP.             Abramson and his co-conspirators

deliberately and recklessly conveyed a false narrative about Plaintiffs to sensationalize

the news. [Tomblin v. WCHS-TV8, 2011 WL 1789770, at * 5 (4th Cir. 2011)

(unpublished) (“on the question of whether WCHS-TV8 deliberately or recklessly

conveyed a false message to sensationalize the news and thus to provide factual support

for a finding of malice, there are disputed facts”)]. Knowing that his Statements about

Plaintiffs were false, Abramson intentionally published the false Statements in order to


       11
              Even CNN recognized that no one affiliated with 1AP had been charged
by the Department of Justice in connection with the January 6 attacks on the Capitol.
[https://www.cnn.com/2021/11/24/politics/first-amendment-praetorian-january-6-
subpoena/index.html].


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profit from subscriptions to his substack account.         Prior to publication of the false

Statements, Abramson had 7,500 subscribers to his substack, which, ironically, he called

“Proof”. As a direct result of the publication of the Statements, Abramson increased his

subscribers to over 40,000, each paying Abramson $5 per month to read his

disinformation and defamation. Abramson also used the false Statements to cross-sell his

book on Amazon, and to profit in other ways. Abramson’s decision to promote baseless,

sensational and scandalous narratives about Plaintiffs and their clients was part of a

deliberate and reckless policy to profit from falsehood.

                d.     Abramson harbors a deep animosity, hostility, hatred, extreme

bias, spite and ill-will towards President Trump, General Flynn and other prominent

Republicans, against whom Abramson has engaged in unprecedented ad hominem

attacks.12 Abramson even concluded that when President Trump praised Iowa Senator

Charles Grassley as a “patriot”, this somehow implicated Senator Grassley in the events

of January 6.    “Patriot”, according to Abramson, is “a term now used as code for

‘insurrectionist’”. Abramson’s animosity, bias, prejudice and desire to harm motivated

him to publish the intentionally false Statements and defamatory implications about

Plaintiffs at issue in this case. Abramson intended to inflict harm through knowing or

reckless falsehoods.   Abramson published the false Statements as part of a broad,

pretextual, premeditated and ongoing disinformation campaign against President Trump

and General Flynn. The purpose of the national smear campaign is to impair or abrogate




       12
                 Abramson, an attorney, has used Twitter to publish hundreds, perhaps
thousands, of vile comments about Republicans. On April 5, 2022, he falsely accused
Florida Governor Ron DeSantis of aiding and abetting “child sex trafficking”.
[https://twitter.com/SethAbramson/status/1511392137329496071].


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President Trump, General Flynn and others’ ability to run for political office or their

ability to support another candidate for office in November 2022 and 2024.

               e.      Abramson exhibited no journalistic integrity in writing, editing,

and publishing the false narratives about Plaintiffs. Abramson did not seek the truth or

report it. He betrayed the truth to sensationalize the news for self-glory, profit and

politics. Rather than minimize harm to Plaintiffs, Abramson set out to inflict maximum

damage on Plaintiffs in order to harm Plaintiffs’ business and reputation.

               f.      Abramson brazenly republished the false and defamatory

Statements about Plaintiffs after he was notified that Plaintiffs and others contended that

the statements were false and defamatory. [See, e.g., Nunes v. Lizza, 12 F. 4th 890, 901

(8th Cir. 2021) (“‘Republication of a statement after the defendant has been notified that

the plaintiff contends that it is false and defamatory may be treated as evidence of

reckless disregard.’ Restatement (Second) of Torts § 580A cmt. d (Am. L. Inst. 1977))].

The republication, which continues on Twitter to this very day, is being used by

Abramson and his co-conspirators as a means to maliciously instigate criminal

prosecutions and to influence voters during the upcoming mid-term elections. Abramson

has acted and is acting with reckless disregard for the truth.

       17.     The publication and republication of the false Statements caused Plaintiffs

to suffer and incur special damages: (a) Lewis has a $150,000 MBA from Southern

Methodist University and substantial private sector (and executive) experience with

Fortune 500 firms, yet he is virtually unemployable because of the environment

Abramson and his co-conspirators created; (b) as a Purple Heart recipient and a combat-

experienced veteran with VA-diagnosed PTSD, Lewis has had to deal with daily threats,




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hate mail and trolls calling him a traitor to his country because of the false Statements

and implications published by Abramson and his co-conspirators, impairing and

frustrating his ability to conduct business and leading to extreme distress and anxiety; (c)

Luelsdorff’s construction business has had major difficulties finding customers now

because of the reputation and enterprise risk created by the false Statements; (d)

Luelsdorff was kicked off the board of directors of a non-profit that does prison reform

work because people think he is an insurrectionist who was involved in the attacks on the

Capitol; (e) Luelsdorff was kicked out of his residence and had to find alternate housing

because the son of the owner stumbled upon Abramson’s tweets; (f) Plaintiffs have

experienced measurable and ongoing loss of income and business and inability to gain

prospective business; (g) Luelsdorff’s lender for building projects received word of the

accusations, and removed him from several large business engagements, causing

reputational issues and financial loss; (h) as a result of the publication and republication

of Abramson’s Statements, Luelsdorff has had difficulty focusing on business due to the

extreme stress, lack of sleep, migraines, and other undesirable health side effects from the

trauma; (i) 1AP has become uninsurable as insurance brokers do not want to take on the

enterprise, and reputational (political) risk of being associated with “insurrectionists”; (j)

1AP has lost out on prospective business and assignments that it was well-positioned to

accept and complete, but for the climate the Statements created; (k) Lewis’ for-profit

security firm (The Shepherd Group) was recommended for some high value and

potentially profitable large jobs providing security for political campaigns due to Lewis’

background and friendships, but this business was lost despite recommendations from

very high levels because of the Statements, which made Lewis and 1AP toxic in the




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political world; (l) donations to 1AP were canceled by Patreon because of the false

Statements and implications; (m) donations to 1AP through other channels have severely

decreased because of the false Statements and implications and the reasonable desire of

donors not wanting to be doxxed for supporting 1AP; (n) venue owners now refuse to

rent their spaces to event organizers who work with 1AP because of the climate

Abramson and his co-conspirators created; (o) the false Statements caused Lewis,

Luelsdorff and 1AP to be investigated by the January 6 Commission, forcing Plaintiffs to

incur significant legal and other expenses to defend the lies and defamatory implications;

and (p) 1AP is now basically insolvent and completely destroyed.

       18.     In addition to special damages, Lewis and Luelsdorff suffered actual

injuries, including (a) insult, humiliation, embarrassment, public ridicule, and injury to

reputation; (b) negative impact upon their personal and social relationships; (c) fear of

bodily injury and death, and fear for the personal safety of their family members, who

Abramson and his associates doxxed; (d) fear that the false Statements would be viewed

by friends, colleagues and others in the security, intelligence and military communities;

and (e) sleeplessness and extreme and unrelenting anxiety.

       19.     As a direct result of Abramson’s defamation, Plaintiffs suffered damage

and loss, including, but not limited to, career damage, lost future earnings and diminished

earning capacity, costs and other out-of-pocket expenses, in the sum of $25,000,000.00 or

such greater amount as is determined by the Jury.

                  COUNT II – DEFAMATION BY IMPLICATION

       20.     Plaintiffs restate paragraphs 1 through 19 of this Complaint, and

incorporate them herein by reference.




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       21.     The strong defamatory gist and false implication from the Statements is

that Plaintiffs participated in or conspired and colluded with others to plan and undertake

the seditious storming of the United States Capitol building and insurrection that occurred

on January 6, 2021. The Statements imply that Plaintiffs engaged in conduct that is

criminal, dishonest, deceitful, immoral, unethical, and that, at the very least, they

knowingly aided, abetted and are accessories to Federal crimes.

       22.     Abramson carefully chose his words and purposefully misrepresented

facts. In the Statements, he and his co-conspirators juxtaposed a series of facts so as to

imply a defamatory connection between them. In addition, Abramson also intentionally

omitted facts in a way that intentionally conveyed a false meaning and that rendered the

challenged Statements defamatory.      Abramson and his co-conspirators intended and

endorsed the defamatory implication by, inter alia, using “click-bait” headlines and

incendiary phrases, photographs of Lewis and Luelsdorff, and discussions of Plaintiffs’

involvement in criminal activity on January 6, 2021, including the attacks on the Capitol

building.    The manner in which Abramson and his co-conspirators presented the

discussion of “Insurrection Week” and “Insurrection Day” also demonstrates that

Abramson intended or endorsed the defamatory implication.

       23.     Abramson’s Statements and those of his co-conspirators constitute

defamation by implication.

       24.     As a direct result of Abramson’s defamation by implication, Plaintiffs

suffered damage and loss, including, but not limited to, career damage, lost future

earnings and diminished earning capacity, costs and other out-of-pocket expenses, in the

sum of $25,000,000.00 or such greater amount as is determined by the Jury.




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              COUNT III – FALSE LIGHT INVASION OF PRIVACY

       25.       Plaintiffs restate paragraphs 1 through 24 of this Complaint, and

incorporate them herein by reference.

       26.       By publishing the false statements on the Internet and via social media,

including to Abramson’s 939,000+ Twitter followers, and by causing the republication of

the statements by third-parties, Abramson generated substantial publicity about the false

statements of or concerning Plaintiffs.       Abramson ascribed to Plaintiffs actions and

conspiratorial associations that did not exist. Abramson’s Statements created a false

impression about Plaintiffs. By associating Plaintiffs with the planning and undertaking

of the January 6 insurrection and attacks on the United States Capitol, Abramson placed

Plaintiffs in a false light that would be offensive to any reasonable person. Given the

universal condemnation of events of January 6, the association and false impression

published or implied would be objectionable to any ordinary reasonable man under the

circumstances.

       27.       Abramson had knowledge of or acted in reckless disregard as to the falsity

of the publicized matter and the false light in which Plaintiffs would be placed by the

false Statements and implications. As a result of Abramson’s false Statements, Plaintiffs

were universally condemned and threatened on Twitter by political operatives, including

those working with Abramson to push the Democratic Party narrative of the January 6

commission.

       28.       Abramson’s actions constitute a false light invasion of Plaintiffs’ privacy.

       29.       As a direct result of Abramson’s false light invasion of privacy, Plaintiffs

suffered damage and loss, including, but not limited to, career damage, lost future




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earnings and diminished earning capacity, costs and other out-of-pocket expenses, in the

sum of $25,000,000.00 or such greater amount as is determined by the Jury.

                   COUNT IV – COMMON LAW CONSPIRACY

       30.    Plaintiffs restate paragraphs 1 through 29 of this Complaint, and

incorporate them herein by reference.

       31.    Beginning in 2021 and continuing through the present, Abramson

combined, associated, agreed or acted in concert with third-parties (identified in

paragraph 3 above) for the express purposes of promoting, publishing and republishing

the false and defamatory Statements, injuring Plaintiffs, intentionally and unlawfully

impeding and interfering with their business and employment, and instigating malicious

prosecution. In furtherance of the conspiracy and preconceived plan, Abramson engaged

in a joint scheme with others the unlawful purpose of which was to publish and republish

false Statements and implications, so as to injure Plaintiffs’ personal and professional

reputations, advance a false narrative and distort the events of January 6, 2021, and

inflame and influence the activities of the January 6 commission.

       32.    Abramson coordinated publication and republication of the defamation

with his co-conspirators. Abramson agreed to participate in the conspiracy and spread

the false Statements via his substack and massive Twitter following.

       33.    Abramson acted intentionally, purposefully, without lawful justification,

and with the express knowledge that he and his confederates were defaming Plaintiffs

and impugning their character. As evidenced by the concerted action online and via

Twitter, Abramson acted with the express and malicious intent to cause Plaintiffs

permanent harm.




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       34.     Abramson’s actions constitute a conspiracy at common law. Abramson is

liable for the injury caused by his confederates while the joint scheme persisted.

       35.     As a direct result of the conspiracy, Plaintiffs suffered damage and loss,

including, but not limited to, career damage, lost future earnings and diminished earning

capacity, costs and other out-of-pocket expenses, in the sum of $25,000,000.00 or such

greater amount as is determined by the Jury.



       Plaintiffs allege the foregoing based upon personal knowledge, public statements

of others, and records in their possession. Plaintiffs believe that substantial additional

evidentiary support, which is in the exclusive possession of Abramson, his confederates,

the Federal Bureau of Investigation, their agents and other third-parties, will exist for the

allegations and claims set forth above after a reasonable opportunity for discovery.

       Plaintiffs reserve their right to amend this Complaint upon discovery of additional

instances of Abramson’s wrongdoing.



                   CONCLUSION AND REQUEST FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request the Court to enter Judgment against

Abramson as follows:

       A.      Compensatory damages in the sum of $25,000,000.00;

       B.      Enhanced damages in the maximum amount allowed by law;

       C.      Prejudgment interest on the principal sum awarded by the Jury at the

maximum rate allowed by law from January 6, 2021 until Judgment is entered;

       D.      Postjudgment interest;




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       E.     Reasonable attorney’s fees, court costs and other recoverable amounts as

allowed by law;

       F.     Such other relief as is just and proper.



                         TRIAL BY JURY IS DEMANDED



DATED:        April 15, 2022



                               ROBERT PATRICK LEWIS
                               PHILIP A. LUELSDORFF
                               1AP, INC.

                               By Their Attorneys


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